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                 Exhibit 1
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PAWESOME PET PRODUCTS LLC, et al.,

                                   Plaintiffs,                                Civil Action No.

v.                                                                               22-cv-1063


CUTEBEAR STORE, et al.,
                                                                         FILED UNDER SEAL
                                   Defendants.



 1) TEMPORARY RESTRAINING ORDER; 2) ORDER RESTRAINING ASSETS AND
MERCHANT STOREFRONTS; 3) ORDER TO SHOW CAUSE WHY A PRELIMINARY
 INJUNCTION SHOULD NOT ISSUE; AND 4) ORDER AUTHORIZING EXPEDITED
                           DISCOVERY1

        This matter is before the Court upon Plaintiffs’ Ex Parte Application for the following: 1)

a temporary restraining order; 2) an order restraining assets and Merchant Storefronts (as defined

infra); 3) an order to show cause why a preliminary injunction should not issue; and 4) an order

authorizing expedited discovery against the Defendants identified on Schedule “A” to the

Complaint and attached hereto (collectively, the “Defendants”). The Court has considered the

Application, the evidence in the record, and the applicable law.

        By the instant Application, Plaintiffs Pawesome Pet Products LLC and Cindy Ghukasyan

move ex parte pursuant to 35 U.S.C. § 283, Federal Rules of Civil Procedure 64 and 65, and The

All Writs Act, 28 U.S.C. § 1651(a), for entry of a temporary restraining order and an order

restraining assets and Merchant Storefronts, for violations of the Patent Act. Because Plaintiffs

1
 This proposed Order includes this Court’s prior modifications as used in the related cases. See, e.g., Pawesome Pet
Products LLC v. Colorflowers, et al., 22-629-MRH (W.D. Pa., filed May 10, 2022), Doggie Dental Inc. et al. v.
AvantDigital et al., 21-cv-565-MRH (W.D. Pa., filed April 29, 2021) and Doggie Dental Inc. et al. v. CDOffice et
al., 21-cv-271-MRH (W.D. Pa., filed February 25, 2021).



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have satisfied the requirements for the issuance of a temporary restraining order, the Court grants

Plaintiffs’ Application.

                             FACTUAL FINDINGS & CONCLUSION OF LAW

            1.       Plaintiffs Pawesome Pet Products LLC (“Pawesome”) and Cindy Ghukasyan

(“Ghukasyan”), are likely to prevail on their Patent Act claim at trial, and that there is a

substantial basis to support each of the below findings.

            2.       Petros Dertsakyan is the inventor of the BRISTLY® dog toothbrush (“Plaintiffs’

Product”). Ghukasyan is the owner of intellectual property related thereto; Pawesome is the

exclusive licensee of such intellectual property.2 Plaintiffs’ Product is a unique and revolutionary

product sold under the BRISTLY® trademark (“Plaintiffs’ Mark”) that safely and easily permits

dogs to brush their own teeth removing plaque and tarter (“Plaintiffs’ Product”).

            3.       Ghukasyan is the owner of U.S. Trademark Registration No. 5,815,298 for

BRISTLY directed to “Non-medicated dental preparations for pets, namely, toothpaste and

preparations for removing plaque; Home dental care products for dogs and cats, namely,

toothpaste; Dental care and oral hygiene products for pets, namely, tooth cleaning preparations;

Non-edible dental chews for pets; Non-medicated oral dental chews for dogs.”

            4.       Ghukasyan is the owner of U.S. Trademark Registration No. 5,844,832 for

BRISTLY directed to “Toothbrushes for animals; Toothbrushes for pets; Home dental care

products for dogs and cats, namely, toothbrush.”




2
    Cindy Ghukasyan acquired the Intellectual Property from Petros Dertsakyan. Doggie Dental, Inc. was the former
    exclusive licensee of the Intellectual Property. Together, Petros Dertsakyan and Doggie Dental, Inc. brought
    multiple lawsuits related to the facts and claims in this lawsuit and are the predecessors in interest to this lawsuit.


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       5.      Ghukasyan is the owner of U.S. copyright registration VA 2-122-455 directed to

various photographs related to the BRISTLY® dog toothbrush (the “Plaintiffs’ Works”).

Ghukasyan is also the owner of unregistered copyrights related to the Plaintiffs’ Product.

       6.      In addition, Ghukasyan is also the owner of various design patent applications

directed to the BRISTLY® dog toothbrush, including an issued European Registered Community

Design (005818606-0001), U.S. design patent D 901104, and a pending Chinese design patent

application.

       7.      Ghukasyan is the owner of U.S. Patent No. 10,477,838 for “Pet chew toy for

dental self-cleaning by domestic pets” (Plaintiffs’ Patent” or “the ‘838 Patent”).

       8.      Defendants, by operating Internet based e-commerce stores, and fully interactive,

commercial Internet websites operating under Defendants’ respective seller identities set forth on

Schedule “A” hereto (the “Seller IDs”), have advertised, promoted, sold, and offered for sale that

Plaintiffs have determined are not genuine BRISTLY® products and infringe at least one claim of

the ‘838 patent.

       9.      Through the e-commerce marketplace platform, Plaintiffs accessed all of the e-

commerce stores operating under Defendants’ Seller IDs and captured the Defendants’ listings at

issue on the e-commerce stores. At the conclusion of the process, the detailed webpages and

photographs were inspected by Plaintiffs’ representative who confirmed that each Defendant is

offering for sale products and infringe upon at least one claim of the Plaintiffs’ Patent

(“Infringing Products”).

       10.     Plaintiffs, as well as consumers and animal owners, are likely to suffer immediate

and irreparable losses, damages and injuries before Defendants can be heard in opposition,




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unless Plaintiffs’ Application for ex parte relief is granted. There is good cause to believe that

the unauthorized and unlicensed offering for sale and sale of Infringing Products will continue in

the marketplace; while consumers are likely to be misled, confused, and disappointed by the

quality of the products so advertised, and that Plaintiffs may suffer loss of sales for their genuine

products and an unnatural erosion of the legitimate marketplace in which they operate. There is

also good cause to believe that if Plaintiffs proceed on notice to Defendants of this Application,

Defendants can easily and quickly change the ownership or modify e-commerce store account

data and content, change payment accounts, redirect consumer traffic to other seller

identification names, and transfer assets and ownership of Seller IDs, thereby thwarting

Plaintiffs’ ability to obtain meaningful relief. As other courts have recognized, proceedings

against those who deliberately traffic in infringing merchandise are often useless if notice is

given to the adverse party.

        11.      The balance of potential harm to Defendants of being prevented from continuing

to profit from their illegal and infringing activities if a temporary restraining order is issued is far

outweighed by the potential harm to Plaintiffs, their reputation, and their goodwill as a

manufacturer and distributor of quality products, if such relief is not issued.

        12.      The public interest favors issuance of the temporary restraining order in order to

protect Plaintiffs’ interests and protect the public from being deceived and defrauded by the

passing off of Defendants substandard goods as Plaintiffs’ genuine goods.

        13.      Under Pennsylvania law this Court may issue a prejudgment asset restraint where

Plaintiff’s complaint asserts a claim for money damages.3 Therefore, this Court has the authority


3
 Under Pennsylvania law, pre-judgment restraints are permitted as against all defendants. Walter v. Stacey, 837
A.2d 1205 (Pa. Super. 2003) (injunction entered restraining assets in action seeking damages for a wrongful death);
Hoxworth v. Blinder, Robinson & Co., Inc., 903 F.2d 186 (3d Cir. 1990) (affirming injunction entered restraining


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to grant Plaintiffs’ request for a prejudgment asset freeze to preserve the relief sought by

Plaintiffs and preserve the Defendants’ ability to at least partially satisfy a judgment.

         14.      Similarly, if Defendants are given notice of the Application, they are likely to

destroy, move, hide or otherwise make inaccessible to Plaintiffs the records and documents

relating to Defendants’ illegal and infringing activities. Therefore, Plaintiffs have good cause to

be granted expedited discovery.

                                                     ORDER

         Based on the foregoing findings of fact and conclusions of law, Plaintiffs’ Application is

hereby GRANTED as follows (the “Order”):

                                     I. Temporary Restraining Order

A. IT IS HEREBY ORDERED, as sufficient cause has been shown, that each Defendant, its

    officers, directors, employees, agents, subsidiaries, distributors, and all persons in active

    concert or participation with any Defendant having notice of this Order are hereby restrained

    as follows:

    (1) from (a) their unauthorized and unlicensed use of Plaintiffs’ Patent, distribution,

         marketing, advertising, offering for sale, or sale of any Infringing Products; and (b)

         shipping, delivering, holding for sale, transferring or otherwise moving, storing,

assets in class action lawsuit). Plaintiff’s pre-filing investigation indicated that Greatmoon Inc, Ineticiam, Joybuy
America, Joybuy Express, Joybuy Selection, and Virgil Farming Poems may be U.S.-based. Pre-judgment restraints
are appropriate against these U.S. sellers under Walter and Hoxworth. See also, Doggie Dental Inc. et al. v.
AvantDigital et al., 21-cv-565-MRH (W.D. Pa., filed April 29, 2021) and Doggie Dental Inc. et al. v. CDOffice et
al., 21-cv-271-MRH (W.D. Pa., filed February 25, 2021).Doggie Dental Inc. v. Go Well, No. 19-cv-1282 (W.D. Pa.
Oct. 11, 2019) (Hornak, J.) (sellers on amazon.com); Doggie Dental Inc. v. Worthbuyer, No. 19-cv-1283 (W.D. Pa.
Oct. 11, 2019) (Hornak, J.) (sellers on ebay.com); Doggie Dental Inc. v. Max_Buy, No. 19-cv-746 (W.D. Pa. June
27, 2019) (Hornak, J.) (sellers on ebay.com); Doggie Dental Inc. v. Anywill, No. 19-cv-682 (W.D. Pa. June 13,
2019) (Hornak, J.) (sellers on amazon.com); Airigan Solutions, LLC v. Abagail, No. 19-cv-503 (May 28, 2019)
(Fischer, J.) (sellers on amazon.com); Airigan Solutions, LLC v. Babymove, No. 19-cv-166 (W.D. Pa. Feb. 14, 2019)
(Fischer, J.) (sellers on amazon.com); Airigan Solutions, LLC v. Artifacts_Selling, No. 18-cv-1462 (W.D. Pa. Oct.
31, 2018) (Fischer, J.) (sellers on ebay.com and aliexpress.com).


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         distributing, returning, or otherwise disposing of, in any manner products that infringe

         upon at least one claim of the Plaintiffs’ Patent;

     (2) from secreting, concealing, destroying, altering, selling off, transferring or otherwise

         disposing of and/or dealing with any computer files, data, business records, documents or

         any other records or evidence relating to their User Accounts,4 Merchant Storefronts5 or

         any money, securities or other property or assets of Defendants (hereinafter collectively

         referred to as “Defendants’ Assets”);

     (3) effecting assignments or transfers, forming new entities or associations, or creating

         and/or utilizing any other platform, User Account, Merchant Storefront or any other

         means of importation, exportation, advertising, marketing, promotion, distribution, and/or

         display for the purposes of circumventing or otherwise avoiding the prohibitions set forth

         in this Order;

     (4) each Defendant, its officers, directors, employees, agents, subsidiaries, distributors, and

         all persons in active concert or participation with any Defendant having notice of this

         Order shall immediately cease offering for sale the Infringing Products within metatags

         or other markers within website source code, from use on any web page (including as the

         title of any product listing), from any advertising links to other websites, from search

         engines’ databases or cache memory, and any other form of use such terms or works

4
     As defined in the Application, a “User Account” is, as defined in the Complaint, any and all accounts with
     online marketplace platform(s) Amazon.com, Ebay.com, Aliexpress.com, Walmart.com, and wish.com as well
     as any and all as yet undiscovered accounts with additional online marketplace platforms held by or associated
     with Defendants, their respective officers, employees, agents, servants and all other persons in active concert
     with any of them.
5
     As defined in the Application, a “Merchant Storefront” is any and all User Accounts through which Defendants,
     their respective officers, employees, agents, servants and all persons in active concert or participation with any
     of them operate storefronts to manufacture, import, export, advertise, market, promote, distribute, display, offer
     for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their respective
     officers, employees, agents, servants and all persons in active concert or participation with any of them.


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         which is visible to a computer user or serves to direct computer searches to Internet based

         e-commerce stores owned, or operated by each Defendant, including the Merchant

         Storefronts operating under the Seller IDs;

     (5) each Defendant shall not transfer ownership of the User Accounts or Merchant

         Storefronts associated with the Seller IDs;

     (6) each Defendant shall preserve copies of all computer files relating to the use of any User

         Accounts and/or Merchant Storefronts under the Seller IDs and shall take steps necessary

         to retrieve computer files relating to the use of the User Accounts and/or Merchant

         Storefronts under their Seller IDs that may been deleted before the entry of this Order;

     (7) upon receipt of notice of this Order, Defendants and all financial institutions, payment

         processors, banks, escrow services, money transmitters, or marketplace platforms,

         including but not limited to Alibaba.com US LLC d/b/a Aliexpress.com (“Aliexpress”),

         Amazon.com, Inc. and its affiliate, Amazon Services LLC d/b/a Amazon.com

         (“Amazon”), eBay, Inc. d/b/a eBay.com (“eBay”), Walmart.com USA LLC and

         Walmart, Inc. (“Walmart”), and Context Logic, Inc d/b/a wish.com (“Wish”) (“Third

         Party Service Provider(s)’’), and Zhejiang Ant Small and Micro Financial Services Group

         Co., Ltd. AliPay (China) Internet Technology Co. Ltd., and Alipay.com Co., Ltd.

         (collectively referred to as “AliPay”)6, Amazon Payments, Inc. d/b/a pay.amazon.com,

         and PayPal, Inc. d/b/a paypal.com (“PayPal”), Walmart d/b/a Walmart Pay (“Walmart”)

         (“Financial Institution(s)”), and their related companies and affiliates, shall immediately

         identify and restrain all funds, as opposed to ongoing account activity, in or which are



6
     WorldPay US, Inc. (“WorldPay”) processes transactions on behalf of Alibaba and Alipay, which may appear as
     “Aliexpress” on a cardholder’s credit card statement.


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         hereafter transmitted into the accounts related to the Defendants as identified on Schedule

         “A” hereto, as well as all funds in or which are transmitted into (i) any other accounts of

         the same customer(s); (ii) any other accounts which transfer funds into the same financial

         institution account(s), and/or any of the other accounts subject to this Order; and (iii) any

         other accounts tied to or used by any of the Seller IDs identified on Schedule “A” hereto;7

     (8) upon receipt of notice of this Order, Defendants and all financial institutions, payment

         processors, banks, escrow services, money transmitters, or marketplace platforms,

         including but not limited to the Third Party Service Provider(s) and the Financial

         Institution(s), shall immediately divert to a holding account for the trust of the Court all

         funds in or which are hereafter transmitted into all accounts related to Defendants

         identified in Schedule “A” hereto, and associated payment accounts, and any other

         accounts for the same customer(s) as well as any other accounts which transfer funds into

         the same financial institution account(s) as any other accounts subject to this Order;

     (9) The Third Party Service Provider(s) and Financial Institution(s) shall further, within five

         (5) business days of receiving this Order, provide Plaintiffs’ counsel with all data that

         details (i) an accounting of the total funds restrained and identifies the financial

         account(s) which the restrained funds are related to, and (ii) the account transactions

         related to all funds transmitted into financial account(s) which have been restrained. Such

         restraining of the funds and the disclosure of the related financial institution account

         information shall be made without notice to the account holders, until after those

         accounts are restrained. No funds restrained by this Order shall be transferred or

7
     This Order contemplates that discovery may reveal that Defendants may have other user accounts operated by
     other Third Party Service Providers and Financial Institutions and that the additionally discovery Third Party
     Service Providers and Financial Institutions, once identified and provided with notice, shall also be subject to
     the discovery, restraints and injunctions set forth in this Order.


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    surrendered by any Third Party Service Provider or Financial Institution for any purpose

    (other than pursuant to a chargeback made pursuant to that Third Party Service Provider

    or Financial Institution’s security interest in the funds) without express authorization of

    this Court;

 (10) Upon Plaintiffs’ request, any Internet marketplace who is provided with notice of this

    Order, including but not limited to the Third Party Service Provider(s) and Financial

    Institution(s), shall immediately cease fulfillment of and sequester Defendants’ inventory

    assets corresponding to the Seller IDs identified on Schedule “A” hereto in its inventory,

    possession, custody, or control, and hold such goods in trust for the Court during

    pendency of this action;

 (11) this Order shall apply to the Seller IDs, associated Accounts and Merchant Storefronts,

    and any other seller identification names, Accounts or Merchant Storefronts, Third Party

    Service Provider or Financial Institution accounts which are being used by Defendants

    for the purpose of infringing on at least one claim of the Plaintiffs’ Patent;

 (12) Defendants and all financial institutions, payment processors, banks, escrow services,

    money transmitters, or marketplace platforms, including but not limited to the Third Party

    Service Provider(s) and the Financial Institution(s), subject to this Order may petition the

    Court to modify the asset restraint set out in this Order; and

 (13) this Order shall remain in effect until the date for the hearing to show cause why a

    preliminary injunction should not be issued as set forth below, or until such further dates

    as set by the Court or stipulated by the parties.




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B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that upon Plaintiffs’

      request, any Internet marketplace who is provided with notice of this Order, including but not

      limited to the Third Party Service Providers and Financial Institutions, is hereby restrained

      and enjoined from engaging in any of the following acts or omissions pending the hearing

      and determination of Plaintiffs’ Application for a preliminary injunction, or until further

      order of the Court:

      (1) secreting, concealing, transferring, disposing of, withdrawing, encumbering or

           paying Defendants’ Assets from or to financial accounts associated with or

           utilized by any Defendant or any Defendant’s User Accounts or Merchant

           Storefront(s) (whether said account is located in the U.S. or abroad)

           (“Defendants’ Financial Accounts”) until further ordered by this Court; and

      (2) within (5) days after receiving notice of this Order, providing services to Defendants,

           Defendants' User Accounts and Defendants' Merchant Storefronts, including, without

           limitation, continued operation of Defendants' User Accounts and Merchant Storefronts,

           and any other listings linked to the same sellers or linked to any other alias seller

           identification names being used and/or controlled by Defendants.

C. IT IS FURTHER ORDERED, as sufficient cause has been shown, that, upon Plaintiffs’

request, within no later than five (5) calendar days of Plaintiffs’ request:

           (1)      Amazon is ordered to remove any seller identified by Plaintiffs from the

following Amazon Standard Identification Numbers (ASINs): B075KYV2DT (small

BRISTLY®), B075L4L1T2 (medium BRISTLY®), and B075KTSHRT (large BRISTLY®)8;



8
    These are the current ASINs assigned to the Plaintiffs’ Products by Amazon.


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       (2)      Amazon is ordered to suspend any ASIN listing product that Plaintiffs assert

infringes at least one claim of the Plaintiffs’ Patent, and is identified as originating outside of the

United States (i.e., any seller is prevented from listing for sale under the identified ASIN); and

       (3)     Amazon is ordered to suspend any ASIN that was associated with a product

already identified by prior Order of this Court in the present lawsuit to be Counterfeit, Infringing,

or unfairly competing, as designated in the Schedule A third column under “Amazon ASIN

Number(s)” (i.e., any seller is prevented from listing for sale under the identified ASIN);

       (4)     The Plaintiffs have demonstrated that the following products as pictured in the

attached Schedule “B” are either made, used by, offered for sale or sold into the United States

contain every element or equivalent of at least one claim of the Plaintiff’s Patent; consequently,

all online marketplaces, including but not limited to, amazon.com, ebay.com, aliexpress.com,

Walmart.com, and wish.com, shall upon receipt of this Order, suspend, block, tombstone, and/or

delete any and any product listings identified by the Plaintiff as either identical or substantially

similar, to the above-described products in Schedule “B”, whether sold by the Defendant or

other persons or entities.

                    II. Order to Show Cause Why a Preliminary Injunction
                            Should Not Issue and Service of Order

     A. Defendants are hereby ORDERED to show cause before this Court in the United States

District Court for the Western District of Pennsylvania, on the 16th day of August, 2022, at

11:00 a.m. or at such other time that this Court deems appropriate, why a preliminary injunction,

pursuant to FRCP 65(a), should not issue. The hearing is set for Courtroom 6A, Joseph F. Weis,

Jr. Courthouse, 700 Grant Street, Pittsburgh, PA, 15219. The Court reserves the right to reset the

hearing to be conducted virtually, via ZoomGov videoconference. Defendants are on notice



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that failure to appear at the hearing may result in the imposition of a preliminary

injunction against them.

      B. Opposing papers, if any, shall be filed electronically with the Court and served on

Plaintiffs’ counsel by delivering copies thereof to the office of Ference & Associates LLC at 409

Broad Street, Pittsburgh, Pennsylvania 15143 on or before August 11, 2022. Plaintiffs shall file

any Reply papers on or before August 15, 2022.

       C. After Plaintiffs’ counsel has received confirmation from the Third Party Service

Providers and Financial Institutions or otherwise, regarding the restraint of funds directed herein,

Plaintiff’s counsel shall file notice of such confirmation on the docket under seal without the

need for redaction within twenty-four (24) hours of the receipt of confirmation. Additionally,

after receiving the aforementioned confirmation regarding restraint of funds, Plaintiffs shall

serve copies of the Complaint, the Application, this Order, and any Discovery on each Defendant

via their corresponding email/online contact form provided on the Internet based e-commerce

stores operating under the respective Seller IDs, or by providing a copy of this order by e-mail to

the marketplace platform, which in turn notifies each Defendant of the Order, or by other means

reasonably calculated to give notice which is permitted by the Court, or as otherwise directed by

this Court. In addition, Plaintiffs shall post copies of the Complaint, Application, this Order, any

Discovery, and all other pleadings and documents filed in this action on a website designated by

Plaintiffs,9 and shall provide the website address to Defendants via e-mail/online contact form,

and such notice so given shall be deemed good and sufficient service thereof. Plaintiffs shall

continue to provide notice of these proceedings and copies of the documents on file in this matter

9
     Rule 65 has been interpreted to require that a party have notice of the motion and hearing; perfecting service on
     a defendant is not a prerequisite to the entry of a preliminary injunction order. Pate v. Gov’t of the Virgin
     Islands, 2015 WL 1937701 n.9 (VI Sup. Ct. April 17, 2015); Corrigan Dispatch Co. v. Casa Guzman, S.A., 569
     F.2d 300, 302 (5th Cir. 1978).


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to Defendants by regularly updating the website designated by Plaintiffs or by other means

reasonably calculated to give notice which is permitted by the Court.

                         III. Order Authorizing Expedited Discovery

A. IT IS FURTHER ORDERED, as sufficient cause has been shown, that:

   (1) Plaintiffs may propound interrogatories pursuant to Rules 26 and 33 of the Federal Rules

       of Civil Procedure, and Defendants, their respective officers, employees, agents, servants

       and attorneys, and all persons in active concert or participation with any of them, who

       receive actual notice of this Order, shall provide written responses under oath to such

       interrogatories within fourteen (14) days of service to Plaintiffs’ counsel.

   (2) Plaintiffs may serve requests for the production of documents pursuant to FRCP 26 and

       34, and Defendants, their respective officers, employees, agents, servants and attorneys,

       and all persons in active concert or participation with any of them, who receive actual

       notice of this Order, shall produce all documents responsive to such requests within

       fourteen (14) days of service to Plaintiffs’ counsel.

   (3) Plaintiffs may serve requests for admissions pursuant to FRCP 26 and 36, and

       Defendants, their respective officers, employees, agents, servants and attorneys, and all

       persons in active concert or participation with any of them, who receive actual notice of

       this Order, shall provide written responses under oath to such requests within fourteen

       (14) days of service to Plaintiffs’ counsel.

B. IT IS FURTHER ORDERED, as sufficient cause has been shown, that within fourteen (14)

   days of receiving actual notice of this Order, Defendants and all financial institutions,

   payment processors, banks, escrow services, money transmitters, or marketplace platforms,



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   including but not limited to the Third Party Service Provider(s) and the Financial

   Institution(s), shall provide to Plaintiffs’ counsel all documents and records in their

   possession, custody or control (whether located in the U.S. or abroad) relating to Defendants’

   User Accounts and Defendants’ Merchant Storefronts, including, but not limited to,

   documents and records relating to:

   (1) any and all User Accounts and Defendants’ Merchant Storefronts and account details,

       including, without limitation, identifying information and account numbers for any and

       all User Accounts and Defendants’ Merchant Storefronts that Defendants have ever had

       and/or currently maintain with the respective Third Party Service Provider;

   (2) the identities, location and contact information, including any and all e-mail addresses of

       Defendants that were not previously provided;

   (3) the Defendants’ methods of payment, methods for accepting payment and any and all

       financial information, including, but not limited to, information associated with

       Defendants’ User Accounts and Defendants’ Merchant Storefronts, a full accounting of

       Defendants’ sales history and listing history under such accounts and Defendants’

       Financial Accounts associated with Defendants’ User Accounts and Defendants’

       Merchant Storefronts; and

   (4) Defendants’ unauthorized and unlicensed use of Plaintiffs’ Patent.

                                        V. Security Bond

       IT IS FURTHER ORDERED that Plaintiffs shall place security (corporate surety bond,

cash, certified check, or attorney’s check) in the amount of $5,000 Dollars with the Court, which

amount is determined adequate for the payment of any damages any person may be entitled to

recover as a result of an improper or wrongful restraint ordered hereunder.


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                                           VI. Summons

       IT IS FURTHER ORDERED that the Clerk of the Court shall issue a single original

summons in the name of “CUTEBEAR STORE and all other Defendants identified in the

Complaint” that will apply to all Defendants. Plaintiffs shall give notice (via electronic means)

of this Order, all other Orders entered at anytime in this case, and all pleadings and papers in this

action to all entities set out in Paragraph I(A)(7) above, and shall give notice by authorized

service of this Order, all other Orders, and all papers in this case to all Defendants within twenty-

four (24) hours of notice that all relevant accounts have been frozen.

SO ORDERED.

SIGNED this 2nd day of August, 2022, at 11:52 a.m.
Pittsburgh, Pennsylvania



                                              ___/s/ Mark R. Hornak_________________
                                              MARK R. HORNAK
                                              CHIEF UNITED STATES DISTRICT JUDGE




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                           Schedule “A”
              Defendants With Store Name and Seller ID
Defendant            Defendant/Store Name                          Seller ID
   No.
    1                     cutebear store                        B08QV8CRND
    2                      CHPODOO                              B087NRXF29
    3                        Kaoello                            B07HH3N3L6
    4                        Xun HJ                             B07HH3N3L6
    5                    Happy Life USA                         B08KTLN3ZT
    6                        jncsffsp                           B08SKCR9Q9
    7                      zxsdertgyhu                          B08QZ37MJF
    8                     文欣阁商行                                  B08VHJ19JV
   9                     COLINAND                               B095WTJGVW
   10                    MoMo Home                              B09MB11YZF
   11                    Mingpinhuius                           B09YLSXY6J
   12        xiamenmiaoleduomaoyiyouxiangongsi                  B09MTWJJQK
   13                        HDddd                              B07Q5GRB9V
   14              Animal AD World Store                         1101779408
   15                Hello Dog Pets Store                        1102060522
   16               Pets' little planet Store                    1101880594
   17                    Aww it Store                            1101579582
   18                  PET LOVE Store                            1101955103
   19               Pet Supplies---01 Store                      1102093515
   20                 Future House Store                         1101414489
   21              Joyione houseware Store                       1101785088
   22             Your Colorful House Store                      1101764442
   23               FCXDG PetsLife Store                         1101392914
   24              Home Life Official Store                      1102005419
   25               Shop1102109831 Store                         1102113761
   26                Ouyes Pet Life Store                        1102021126
   27           Oriental Pet Supply Store Store                  1101797306
   28                        yifeiler                            1100406859


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29               Shop1100182001 Store                         1102002915
30                     Wellso Store                           1100991720
31                  choco small Store                         1101782050
32                     kyjen_Store                            1101682591
33                     Detian Store                           1101563606
34                    CNpeace Store                           1101572095
35                 Shop5888429 Store                          1102053517
36               LGJ Pets Factory Store                       1101817062
37                      taotao Store                          1101550174
38               Shop1100185029 Store                         1102010610
39                   Good Pets Store                          1101657795
40                  Xiang Bing Store                          1101394832
41               Comfortable Stuff Store                      1100465192
42               Yundropshipping Store                        1101536295
43              Catus Pets Supplies Store                     1101057636
44                     Pething Mall                           1101011805
45                 All Stars Life Store                       1101354857
46            KXBXYTEMAI Pet Buy Store                        1101761678
47                  JiXiang Pet Store                         1102080133
48                Shop911472022 Store                         1101623049
49                 PUPRETTY Store                             1101683848
50                   gzyounike Store                          1101389858
51                     carepet Store                          1101602786
52                   Animal ID Store                          1101391670
53                      evilto Store                          1101327034
54                HJKL PetsLife Store                         1101397690
55                   guanchi3 Store                           1101938824
56              james dropshipping Store                      1002018743
57                  Worry-free Store                          1101391901
58                ATUBAN Pets Store                           1101936657
59                   HouseStar Store                          1101776344
60               shop1102121962 Store                         1102129951
61                      ranas_6743                           363846253787
62                      bestnewlife                          363697217962

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63                    jb_buy_store                           165414892185
64                     swabsmart                             304281575795
65                     msc_stores                            174567374414
66                         fais87                            155059652747
67                      rayshop90                            165507893617
68                    ashen.perera                           265150194261
69                   santoneco-70                            134077761508
70                         Blirik                             101175999
71                     CEHONMS                                101112410
72                        Cribun                              101044655
73                     FedimanPet                             101122625
74              Four Seasons Necessities                      101175006
75                   Greatmoon Inc                            101065177
76                       Huaxuan                              101139209
77                    Jocelyn LLC                             101117840
78                        Joybuy                                 18988
79                  Joybuy America                            101001636
80                  Joybuy Express                               16214
81                 Joybuy Selection                           101087374
82                       Quintina                             101133724
83         Shenzhenshi Sijiuzhou Keji Youxian                 101100092
                          Gongsi
84                         sumai                              101134294
85                    VATENICK                                101125639
86               Virgil Farming Poems                         101099533
87                      WEKITY                                101088379
88                        zhehao                              101121244
89                      PurpKSX                       619059426442eaecf6b84d90
90                       wangjulu                     586e0087ec1a97419dade719
91               Happiness in the Shop                5d3d0e10e4b65d1d131e7286
92                     Richard155                     5e71f4b657b01087bf7829ba
93                 Fancy Pet World                    5fd029fa510c1d04cae87731




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                        Schedule “B”
                  Patent Infringing Products

                  Type 1 Infringing Product




                  Type 2 Infringing Product




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                  Type 3 Infringing Product




                  Type 4 Infringing Product




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                          UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PAWESOME PET PRODUCTS LLC, et al.,                              CIVIL ACTION NO.

                              Plaintiffs,                             22-cv-1063

V.                                                             FILED UNDER SEAL


CUTEBEAR STORE, et al.,

                              Defendants.




      ORDER ON PLAINTIFF'S EXPARTE MOTION FOR AN ORDER AUTHORIZING
     ALTERNATIVE SERVICE ON DEFENDANTS PURSUANT TO FEDERAL RULE OF
                           CIVIL PROCEDURE 4(Q{3)
                     '

         AND NOW, thi~ ? .y of July, 2022, upon consideration of Plaintiffs Ex Parte Motion for
an Order Authorizing Alternative Service on Defendants Pursuant to Federal Rule of Civil Procedure
4(t)(3),

IT IS HEREBY ORDERED that said Motion is GRANTED;

IT IS FURTHER ORDERED that Plaintiffs are authorized to make alternative service of the
Summonses, the Complaint, any discovery, and all filings in this matter upon each Defendant in this
action, as follows:

1. via e-mail by providing the address to Plaintiffs' designated website to Defendants via (i) the
        e-mail accounts provided by D efendants as part of the data related to their respective e-
        commerce stores, or (ii) the e-commerce marketplace for each of the e-commerce stores,
        or

2. via website publication by posting copies of the Summonses, Complaint, any Discovery, and all
        filings in this matter on Plaintiffs' designated website on www.ferencelaw.com.




                                                           United States District Judge    -

cc Stanley D. Ference III, Esq.
   courts@ferencelaw.com
   Brian Samuel Malkin, Esq.
   bmalkin@f erence law.com
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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PAWESOME PET PRODUCTS LLC, et al.

                                     Plaintiffs,                         Civil Action No. 22-cv-1063

V.                                                                               (Judge Hornak)

CUTEBEAR STORE, et al.,

                                     Defendants.




               ttft& I I IIJI! I              E    PRELIMINARY INJUNCTION ORDER

          WHEREAS, on August 2, 2022, Plaintiffs Pawesome Pet Products LLC and Cindy

Ghukasyan filed an Ex Parte Application seeking l) a temporary restraining order; 2) an order

restraining assets and "Merchant Storefronts", as defined infra; 3) an order to show cause why a

preliminary injunction should not issue; and 4) an order authorizing expedited discovery against

all of the Defendants identified on the attached Schedule "A", Alibaba.com US LLC d/b/a

Aliexpress.com ("Aliexpress"), Amazon.com, Inc. and its affiliate, Amazon Services LLC d/b/a

Amazon.com ("Amazon"), eBay, Inc. d/b/a eBay.com ("eBay"), and ~ontext Logic, Inc d/b/a

wish.com ("Wish") ("Third Party Service Provider(s)") and AliPay US Inc. d/b/a Alipay.com

("Alipay"), Amazon Payments, Inc. d/b/a pay.amazon.com, and PayPal, Inc. d/b/a paypal.com

("PayPal") ("Financial Institution(s)"), and Walmart Pay operated by Wal-Mart.com USA, LLC,

in light of Defendants ' intentional and willful offerings for sale and/or sales of Infringing

Products 1 ("Application");



     As alleged in Plaintiffs' Complaint,"...the Defendants identified in Schedule "A" of the Complaint, were
     and/are currently manufacturing, importing, exporting, advertising, marketing, promoting, distributing,
     displaying, offering for sale and or/selling products that have infringed upon one or more of the claims of U.S.

                                                           1
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 WHEREAS, on the same day, Plaintiffs filed an Ex Parte Motion for an Order Authorizing

 Alternative Service on Defendants Pursuant to Federal Rule of Civil Procedure 4(f)(3);

         WHEREAS on August 2, 2022, the Court entered the following Orders:

         (A) 1) a temporary restraining order; 2) an order restraining assets and Merchant

Storefronts; 3) an order to show cause why a preliminary injunction should not issue; and 4) an

order authorizing expedited discovery against all of the Defendants identified on the attached

Schedule "A", the Third Party Service Provider and the Financial Institutions ("TRO") (ECF

No. 22); and


        (B) an Order Authorizing Alternative Service on Defendants Pursuant to Federal Rule of

Civil Procedure 4(f)(3) (ECF No. 16);

        WHEREAS, on August 11, 2022, upon Plaintiffs' Motion, the Court extended the

temporary restraining order and ordered the Defendants to appear on August 30, 2022 at 3 :00

pm, EDT, and show cause why a preliminary injunction should not be entered (ECF No. 29);

        WHEREAS, on August 30, 2022 at 3 :00 pm, Plaintiffs appeared for the Order to Show

Cause Hearing, however no Defendants appeared. Further, no Third Party Service Providers or

Financial Institutions appeared.


                                                      ORDER

   A. IT IS HEREBY ORDERED, as good and sufficient cause has been shown, the injunctive

       relief previously granted on August 2, 2022, and extended on August 11, 2022, shall

       remain in place through the pendency of this litigation or until further order of this Court,

   Patent No. 10,477,838 ("Plaintiffs' Patent" or "the '838 patent") by offering for sale, selling, and distributing
   knock-off versions of Plaintiffs' BRISTLY® dog toothbrush ("Infringing Products"). Defendants accomplish
   their infringing sales through the use of, at least, the Internet based e-commerce stores operated via at least the
   Third Party Service Provider marketplace platform.
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    and there is good and sufficient cause for issuing this Preli minary Injunction under 35

    U.S.C. § 283, Federal Rules of Civil Procedure 64 and 65, and The All Writs Act, 28

    U.S.C. § 165 1(a). The Court finds that P laintiffs rely upon a presumptively valid patent,

    and that nothing in the record calls that validity into question. The evidence establishes

    that Plaintiffs have shown a sufficient likelihood of success on the merits of this action.

    The Court also concludes that P laintiffs have shown that immediate and irreparable

    injury, loss, and damage will likely result should the relief entered by this Order not be

    granted. Specifically, the Court fi nds that Defendants' infringing products are likely to

    continue to cause Plaintiffs to suffer loss profits, compromise the value of Plaintiffs'

    brand, and negatively effect Plaintiffs' re lationships w ith its current customers and its

    ability to attract new customers. Defendants w ill not be harmed by the imposition of the

    injunctive relie f requested, because the injunction only prohibits De fendants from taking

    actions they are o therwise not entitled to perform under the law. And finally, the public

    interest favors the issuance of the requested injunction, and Plaintiffs have no adequate

   remedy at law for the immediate and irreparable harms identified .

   Accordingly, each Defendant, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any Defendant having

   notice of this Order shall continue to be restrained as follows:

{I) from (a) their unauthorized and unlicensed use of Plaintiffs' Patent, distribution,

   marketing, advertising, offering for sale, or sale of any Infringing Products; and (b)

   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

   distributing, returning, or otherwise disposing of, in any manner products that infringe

   upon at least one claim of the Plaintiffs Patent;
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 (2) from secreting, concealing, destroying, altering, selling off, transferring or otherwise

     disposing of and/or dealing with any computer fi les, data, business records, documents or

     any other records or evidence relating to their User Accounts,2 Merchant Storefronts3 or

     any money, securities or other property or assets of Defendants (hereinafter collectively

     referred to as "Defendants' Assets");

(3) effecting assignments or transfers, forming new entities or associations, or creating

     and/or utilizing any other platform, User Account, Merchant Storefront or any other

     means of importation, exportation, advertising, marketing, promotion, distribution, and/or

     display for the purposes of circumventing or otherwise avoiding the prohibitions set forth

     in this Order;

(4) each Defendant, its officers, directors, employees, agents, subsidiaries, distributors, and

     all persons in active concert or participation with any Defendant having notice of this

     Order shall immediately cease offering for sale the Infringing Products within metatags

     or other markers within website source code, from use on any web page (including as the

     title of any product listing), from any advertising links to other websites, from search

    engines' databases or cache memory, and any other form of use such terms or works

    which is visible to a computer user or serves to direct computer searches to Internet based




As defined in the Application, a "User Account" is, as defined in the Complaint, any and all accounts with at
least one of the online marketplace platform(s), Amazon.com, eBay.com, Aliexpress.com, Walmart.com, and
Wish.com, as well as any and all as yet undiscovered accounts with additional online marketplace platforms
held by or associated with Defendants, their respective officers, employees, agents, servants and all other
persons in active concert with any of them.

As defined in the Application, a "Merchant Storefront" is any and all User Accounts through which Defendants,
their respective officers, employees, agents, servants and all persons in active concert or pa11icipation with any
of them operate storefronts to manufacture, import, export, advertise, market, promote, distribute, display, offer
for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their respective
officers, employees, agents, servants and all persons in active conceit or participation with any of them.
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        e-commerce stores owned, or operated by each Defendant, including the Merchant

        Storefronts operating under tbe Seller IDs;

    (5) each Defendant shall not transfer ownership of the User Accounts or Merchant

        Storefronts associated with the Seller IDs;

    (6) each Defendant shall preserve copies of all computer files relating to the use of any User

        Accounts and/or Merchant Storefronts under the Seller IDs and shall take steps necessary

        to retrieve computer files relating to the use of the User Accounts and/or Merchant

        Storefronts under their Seller IDs that may been deleted before the entry of this Order;

    (7) upon receipt of notice of this Order, Defendants and all financial institutions, payment

        processors, banks, escrow services, money transmitters, or marketplace platforms,

        including but not limited to Alibaba.com US LLC d/b/a Aliexpress.com ("Aliexpress"),

        Amazon.com, Inc. and its affiliate, Amazon Services LLC d/b/a Amazon.com

        ("Amazon"), eBay, Inc. d/b/a eBay.com ("eBay"), and Context Logic, Inc d/b/a

        wish.com ("Wish") ("Third Party Service Provider(s), Walmart Pay operated by Wal-

        Mart.com USA, LLC, (" Walmart")" ) and Zhejiang Ant Small and Micro Financial

        Services Group Co., Ltd. AliPay (China) Internet Technology Co. Ltd., and Alipay.com

        Co., Ltd. (collectively referred to as "AliPay")4 , Amazon Payments, Inc. d/b/a

        pay.amazon.com, and PayPal, Inc. d/b/a paypal.com ("PayPal") ("Financial

        lnstitution(s)"), and their related companies and affiliates, shall immediately identify and

        restrain all funds, as opposed to ongoing account activity, in or which are hereafter

        transmitted into the accounts related to the Defendants as identified on Schedule "A"



4   WorldPay US, Inc. (" WorldPay") processes transactions on behalf of Alibaba and Alipay, which may appear as
    "Aliexpress" on a cardholder' s credit card statement.
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     hereto, as well as all funds in or which are transmitted into (i) any other accounts of the

     same customer(s); (ii) any other accounts which transfer funds into the same financial

     institution account(s), and/or any of the other accounts subject to this Order; and (iii) any

     other accounts tied to or used by any of the Seller IDs identified on Schedule "A" hereto; 5

(8) upon receipt of notice of this Order, Defendants and all financial institutions, payment

    processors, banks, escrow services, money transmitters, or marketplace platforms,

    including but not limited to the Third Party Service Provider(s) and the Financial

     Institution(s), shall immediately divert to a holding account fo r the trust of the Court all

    funds in or which are hereafter transmitted into all accounts related to Defendants

    identified in Schedule "A" hereto, and associated payment accounts, and any other

    accounts for the same customer(s) as well as any other accounts which transfer funds into

    the same financial institution account(s) as any other accounts subject to this Order;

(9) Tbe Third Party Service Provider(s) and Financial Institution(s) shall further, within five

    (5) business days of receiving this Order, provider Plaintiffs' counsel with a ll data that

    details (i) an accounting of the total funds restrained and identifies the financial

    account(s) which the restrained funds are related to, and (ii) the account transactions

    related to a ll funds transmitted into financial account(s) which have been restrained. Such

    restraining of the funds and the disclosure of the related financial institution account

    information shall be made without notice to the account holders, until after those

    accounts are restrained. No funds restrained by this Order sha ll be transferred or

    surrendered by any Third Party Service Provider or Financial Institution for any purpose


This Order contemplales that discovery may reveal that Defendants may have other user accounts operated by
other Third Party Service Providers and Financial Institutions and that the additionally discovery Third Party
Service Providers and Financial Institutions, once identified and provided with notice, shall also be subject to
the discovery, restraints and injunctions set forth in this Order.
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    (other than pursuant to a chargeback made pursuant to that Third Party Service Provider

    or Financial Institution's security interest in the funds) without express authorization of

    this Court;

(10) Upon Plaintiffs' request, any Internet marketplace who is provided with notice of this

    Order, including but not limited to the Third Party Service Provider(s) and Financial

    Institution(s), shall immediately cease fulfillment of and sequester Defendants' inventory

    assets corresponding to the Seller IDs identified on Schedule "A" hereto in its inventory,

    possession, custody, or control, and hold such goods in trust for the Court during

    pendency of this action;

( 11) this Order shall apply to the Seller IDs, associated Accounts and Merchant Storefronts,

   and any other seller identification names, Accounts or Merchant Storefronts, Third Party

   Service Provider or Financial Institution accounts which are being used by Defendants

   for the purpose of infringing on at least one claim of the Plaintiffs' Patent;

( 12) Defendants and all financial institutions, payment processors, banks, escrow services,

   money transmitters, or marketplace platforms, including but not limited to the Third Party

   Service Provider(s) and the Financial Institution(s), subject to this Order may petition the

   Court to modify the asset restraint set out in this Order; and

(13) this Order and the Alternative Service Order shall remain in effect during the pendency

   of this action or until finther order of the Court, and Plaintiff shall serve the Defendants

   with a copy of this Order in accordance with the Alternative Service Order.
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B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that upon Plaintiffs'

      request, any Internet marketplace who is provided with notice of this Order, including but not

      limited to the Third Party Service Providers and Financial Institutions, is hereby restrained

      and enjoined from engaging in any of the following acts or omissions pending the hearing

      and determination of Plaintiffs' Application for a preliminary injunction, or until further

      order of the Court:

      ( 1) secreting, concealing, transferring, disposing of, w ithdrawing, encumbering or

          paying Defendants' Assets from or to financial accounts associated with or

          utilized by any Defendant or any Defendant's User Accounts or Merchant

          Storefront(s) (whether said account is located in the U.S. or abroad)

          ("Defendants' Financial Accounts") until further ordered by this Court; and

      (2) within (5) days after receiving notice of this Order, providing services to Defendants,

          Defendants' User Accounts and Defendants' Merchant Storefronts, including, without

           limitation, continued operation of Defendants' User Accounts and Merchant Storefronts,

           and any other listings linked to the same sellers or linked to any other alias seller

           identification names being used and/or controlled by Defendants.

C. IT IS FURTHER ORDERED, as sufficient cause has been shown, that, upon Plaintiffs'

request, within no later than five (5) calendar days of Plaintiffs' request:

           (1)      Amazon is ordered to remove any seller identified by Plaintiffs from the

following Amazon Standard Identification Numbers (ASINs): B075KYV2DT (small

BRJSTLY®), B075L4Ll T2 (medium BRJSTLY®), and B075KTSHRT (large BRISTLY®)6;




6   These are the current ASINs assigned to the Plaintiffs' Products by Amazon.
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        (2)      Amazon is ordered to suspend any ASIN listing product that Plaintiffs assert

infringes at least one claim of the Plaintiffs' Patent, and is identified as originating outside of the

United States (i.e. any seller is prevented from listing for sale under the identified ASIN); and

        (3)     Amazon is ordered to suspend any ASIN that was associated with a product

already identified by prior Order of this Court in the present lawsuit to be Counterfeit, Infringing,

or unfairly competing, as designated in the Schedule A third column under "Amazon ASIN

Number(s)" (i.e. any seller is prevented from listing for sale under the identified ASIN);

        (4)     The Plaintiff has demonstrated that the following products as pictured in the

attached Schedule "B" are either made, used by, offered for sale or sold into the United States

contain every element or equivalent of at least one claim of the Plaintiff's Patent; consequently,

all online marketplaces, including but not limited to, amazon.com, ebay.com, aliexpress.com,

Walmart.com, and wish.com, shall upon receipt of this Order, suspend, block, tombstone, and/or

delete any and any product listings identified by the Plaintiff as either identical or substantially

similar, to the above-described products in Schedule "B", whether sold by the Defendant or

other persons or entities.

                             II. Order Authorizing Expedited Discovery

A. IT IS FURTHER ORDERED, as sufficient cause has been shown, that:

   (1) Plaintiffs may propound interrogatories pursuant to Rules 26 and 33 of the Federal Rules

       of Civil Procedure, and Defendants, their respective officers, employees, agents, servants

       and attorneys, and all persons in active concert or participation with any of them, who

       receive actual notice of this Order, shall provide written responses under oath to such

       interrogatories within fourteen (14) days of service to Plaintiffs' counsel.
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   (2) P laintiffs may serve requests for the production of documents pursuant to FRCP 26 and

       34, and Defendants, their respective officers, employees, agents, servants and attorneys,

       and all persons in active concert or participation with any of them, who receive actual

       notice of this Order, shall produce all documents responsive to such requests within

       fourteen ( 14) days of service to Plaintiffs' counsel.

   (3) Plaintiffs may serve requests for admissions pursuant to FRCP 26 and 36, and

       Defendants, their respective officers, employees, agents, servants and attorneys, and all

       persons in active concert or participation with any of them, who receive actual notice of

       this Order, shall provide written responses under oath to such requests within fourteen

       ( 14) days of service to Plaintiffs' counsel.

B. lT IS FURTHER ORDERED, as sufficient cause has been shown, that within fourteen ( 14)

   days ofreceiving actual notice of this Order, Defendants and al l financial institutions,

   payment processors, banks, escrow services, money transmitters, or marketplace platforms,

   including but not limited to the Third Party Service ,P rovider(s) and the Financial

   Institution(s), shall provide to Plaintiffs' counsel all documents and records in their

   possession, custody or control (whether located in the U.S. or abroad) relating to Defendants'

   User Accounts and Defendants' Merchant Storefronts, including, but not limited to,

   documents and records relating to:

   (I) any and all User Accounts and Defendants' Merchant Storefronts and account details,

      including, without limitation, identify.ing information and account numbers fo r any and

      all User Accounts and Defendants' Merchant Storefronts that Defendants have ever had

      and/or currently maintain with the respective Third Party Service Provider;
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    (2) the identities, location and contact information, including any and a ll e-mail addresses of

        Defendants that were not previously provided;


    (3) the Defendants' methods of payment, methods for accepting payment and any and all

        financial information, including, but not limited to, information associated with

        Defendants' User Accounts and Defendants' Merchant Storefronts, a full accounting of

        Defendants' sales history and listing history under such accounts and Defendants'

        Financial Accounts associated with Defendants' User Accounts and Defendants'

        Merchant Storefronts; and


    (4) Defendants' unauthorized and unlicensed use of Plaintiffs' Patent.

                                          III. Security Bond

        IT IS FURTHER ORDERED the $5,000.00 bond posted by Plaintiff shall remain with

the Court until a final disposition of thi s case or until further order of this Court, or until this

Order is terminated.




SO ORDERED.

SIGNED this ~          ay of Augus~ 2022, at         L.~     m. ~ .
Pittsburgh, Pennsylvania




                                                 MARK R. HORNAK
                                                 CHIEF UNITED STATES DlSTRlCT JUDGE
